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     (also erroneously collectively named as “The Cypress Group”)
 8

 9                                     UNITED STATES DISTRICT COURT

10                                NORTHERN DISTRICT OF CALIFORNIA

11

12   ROBERT APPLEBY and WINNIE                        Case No.
     APPLEBY,
13                                                    NOTICE OF REMOVAL BY
                          Plaintiff,                  DEFENDANTS MORGAN STANLEY
14                                                    SMITH BARNEY LLC, JOHN S. LIN,
             v.                                       MAYNARD LICHTERMAN, JOHN
15                                                    DELAHAYE, JULIE BAEDER, AND
     MORGAN STANLEY SMITH BARNEY                      WALTER STEVENSON (ALSO
16   LLC is a limited liability corporation           ERRONEOUSLY COLLECTIVELY
     organized and existing under the laws of the     NAMED AS “THE CYPRESS
17   Delaware; THE CYPRESS GROUP at                   GROUP”) UNDER 28 U.S.C. § 1441(c)
     Morgan Stanley (legal form unknown); JOHN
18   S. LIN; and individual; MAYNARD
     LICHTEMAN, an individual; JOHN                   Date Action Filed: May 2, 2014
19   DELAHAYE; an individual; JULIE
     BAEDER, an individual; WALTER
20   STEVENSON; and individual; and DOES 1
     TO 20, inclusive,
21
                          Defendants.
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                                                                               NOTICE OF REMOVAL

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 1             TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 2   CALIFORNIA AND TO PLAINTIFFS AND THEIR COUNSEL OF RECORD:

 3             PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1441 (c), and 1446, Defendants

 4   Morgan Stanley Smith Barney LLC (“MSSB”), John S. Lin, Maynard Lichterman, John

 5   Delahaye, Julie Baeder, and Walter Stevenson (also erroneously collectively named as “The

 6   Cypress Group”) (collectively “Defendants”), hereby remove this action from the Superior Court

 7   of California for the County of San Francisco to this Court, based on the following grounds:

 8                                             BACKGROUND

 9             1.     On May 2, 2014, Plaintiffs Robert Appleby and Winnie Appleby (“Plaintiffs”)
10   filed a civil action in the Superior Court of California for the County of San Francisco entitled

11   “Robert Appleby and Winnie Appleby, Plaintiffs, vs. Morgan Stanley Smith Barney LLC is a

12   limited liability corporation organized and existing under the laws of the Delaware; The Cypress

13   Group at Morgan Stanley (legal form unknown); John S. Lin; an individual; Maynard Lichteman,

14   an individual; John Delahaye; an individual; Julie Baeder, an individual; Walter Stevenson; an

15   individual; and Does 1 to 20, inclusive, Defendants,” No. CGC – 14 -539080 (the “Action”).

16   A true copy of the Complaint is attached to this notice as Exhibit A.

17             2.     The Complaint purports to assert fourteen causes of action for relief against

18   Defendants stemming from Plaintiff Robert Appleby’s employment with Defendant MSSB.

19   Specifically, the Complaint alleges purported causes of action for: (1) fraud; (2) defamation;
20   (3) invasion of privacy; (4) intentional infliction of emotional distress; (5) employment

21   discrimination – disability under Cal. Gov. Code § 12940(a); (6) employment discrimination –

22   disability harassment and constructive discharge resulting from harassment under Cal. Gov. Code

23   § 12940(j), (k); (7) retaliation under Cal. Gov. Code § 12940(h); (8) age discrimination under Cal.

24   Gov. Code § 12940(a) and 29 U.S.C. § 623; (9) employment discrimination – demotion under cal.

25   Gov. Code § 12940(a); (10) failure to prevent discrimination/harassment under Cal. Gov. Code

26   12940(k); (11) violation of the California Family Rights Act; (12) violation of the Federal Family

27   and Medical Leave Act, 29 U.S.C. § 2601 et seq.; (13) rescission of contract; and (14) declaratory

28   relief.

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 1           3.       On May 19, 2014, Defendants filed with the San Francisco County Superior Court

 2   and served Plaintiffs with their Answer to Plaintiffs’ Complaint, a true and correct copy of which

 3   is attached hereto as Exhibit B.

 4                                      TIMELINESS OF REMOVAL

 5           4.       The Complaint was filed on May 2, 2014 and has not been served on Defendants.

 6   Therefore, this notice of removal is timely filed within 30 days of service pursuant to 28 U.S.C.

 7   section 1446(b). See Murphy Brothers, Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354

 8   (1999) (the 30-day period for removal runs from the date that service is completed as required by

 9   state law).
10                                FEDERAL QUESTION JURISDICTION

11           5.       This Action is a civil action of which this Court has original jurisdiction under 28

12   U.S.C. § 1331, and is one which may be removed to this Court by Defendants pursuant to 28

13   U.S.C. § 1441(c), because Plaintiffs’ eighth and twelfth cause of action arise under 29 U.S.C.

14   § 623 and 29 U.S.C. § 2601 et seq. Because Plaintiffs’ other claims arise from the same

15   controversy underlying their federal claims, this Court has supplemental jurisdiction over those

16   claims under 28 U.S.C. § 1367. See DC Comics v. Pac. Pictures Corp., 706 F.3d 1009, 1012

17   (9th Cir. 2013).

18                                                  VENUE

19           6.       Venue lies in the Northern District of this Court pursuant to 28 U.S.C. §§ 1441 and
20   1446(a). This Action was originally brought in the Superior Court of California, County of San

21   Francisco.

22                                   INTRADISTRICT ASSIGNMENT

23           7.       This Action arises in San Francisco County. (Compl., ¶ 22). Accordingly,

24   pursuant to Northern District Civil L.R. 3–2, the Action should be assigned to the San Francisco

25   Division or the Oakland Division of this Court.

26                                        NOTICE OF REMOVAL

27           8.       This Notice of Removal will be promptly served on Plaintiff and filed with the

28   Clerk of the Superior Court of the State of California in and for the County of San Francisco.

                                                      -2-                              NOTICE OF REMOVAL

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 1           9.       In compliance with 28 U.S.C. § 1446(a), attached are copies of the state-court

 2   papers received by or served by Defendants: the Complaint (Exhibit A) and the Answer

 3   (Exhibit B).

 4           WHEREFORE, Defendant prays that this civil action be removed from the Superior Court

 5   of the State of California, County of San Francisco to the United States District Court of the

 6   Northern District of California.

 7   Dated: May 19, 2014.                            TRISH HIGGINS
                                                     TIMOTHY B. DEL CASTILLO
 8                                                   ORRICK, HERRINGTON & SUTCLIFFE LLP
 9
10                                                   /s/ Trish M. Higgins
                                                                        Trish Higgins
11                                                                 Attorneys for Defendants
                                                      Morgan Stanley Smith Barney LLC, John S. Lin,
12                                                        Maynard Lichterman, John Delahaye, Julie
                                                       Baeder, and Walter Stevenson (also erroneously
13                                                       collectively named as “The Cypress Group”)
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